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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,
                                                             Case Number 03-20017
v.                                                           Honorable David M. Lawson

CHARLES JOHNSON,

                       Defendant.

______________________________________/

             ORDER DENYING MOTION FOR REDUCTION OF SENTENCE

        Presently before the Court is the defendant’s motion for reduction of sentence under 18

U.S.C. § 3582(c)(2). On January 8, 2004, defendant Charles Johnson pleaded guilty to conspiracy

to distribute fifty grams or more of cocaine base in violation of 21 U.S.C. § 846. On January 13,

2005, the Court sentenced the defendant to 262 months in prison to be followed by ten years of

supervised release. Pursuant to the terms of the defendant’s plea agreement, the defendant was held

responsible for 150 to 500 grams of cocaine base. At the sentence hearing, the Court observed that

the defendant’s net offense level was 36 and his criminal history category was IV. This yielded a

sentencing guideline range of 262 to 327 months with a statutory mandatory minimum sentence of

240. See USSG § 5G1.1(b).

        The defendant appealed the sentence, and the Sixth Circuit affirmed on July 13, 2006. On

February 21, 2007, the defendant filed a motion to vacate his sentence, which this Court denied on

July 12, 2007.

        On January 9, 2009, the parties filed a stipulation to reduce the defendant’s sentence under

18 U.S.C. § 3582(c)(2). The parties stated that the defendant was entitled to have his sentence
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reduced because the United States Sentencing Commission had issued Amendment 706 to the

Sentencing Guidelines allowing a two-level reduction of the base offense level for those sentenced

for crack cocaine offenses before November 1, 2011. The Court granted the motion on January 22,

2009 and reduced the defendant’s sentence to 240 months, the mandatory minimum sentence

prescribed by Congress.

       On February 14, 2012, the defendant filed a motion seeking to reduce his sentence because

the United States Sentencing Commission, following the enactment of the Fair Sentencing Act of

2010, issued new and more lenient sentencing guidelines applicable to offenses involving crack

cocaine. The Court denied that motion on March 8, 2012 because the defendant’s sentence already

had been reduced to the statutory mandatory minimum. In his present motion, the defendant again

argues that he is entitled to have his sentence reduced further on the basis of the sentencing

guidelines issued by the United States Sentencing Commission pursuant to the Fair Sentencing Act.

       Under 18 U.S.C. § 3582(c)(2), a court may modify a term of imprisonment after it is imposed

only under certain conditions:

       [I]n the case of a defendant who has been sentenced to a term of imprisonment based
       on a sentencing range that has subsequently been lowered by the Sentencing
       Commission pursuant to 28 U.S.C. 994(o), upon motion of the defendant or the
       Director of the Bureau of Prisons, or on its own motion, the court may reduce the
       term of imprisonment, after considering the factors set forth in section 3553(a) to the
       extent that they are applicable, if such a reduction is consistent with applicable
       policy statements issued by the Sentencing Commission.

(Emphasis added). The defendant alleges that because the Sentencing Commission has reduced the

crack cocaine guidelines and made them retroactive, and his crime involved the distribution of crack

cocaine, he is entitled to a sentence reduction.




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       The Sixth Circuit has held that a defendant subjected to a statutory mandatory minimum

sentence is not eligible for a reduction under section 3582(c)(2) because the guideline amendment

does not lower the defendant’s applicable guideline range. United States v. Johnson, 564 F.3d 419,

423 (6th Cir. 2009). Subsequently, that court held that the Sentencing Commission’s amendment

to a sentencing guideline range that does not affect a statutory mandatory minimum sentence will

not provide the basis for a subsequent reduction of a sentence under section 3582(c)(2). United

States v. McPherson, 629 F.3d 609, 611 (6th Cir. 2011).

       The Court believes that the defendant’s motion is governed by the precedent set forth in

Johnson and McPhearson. The Court has already reduced the defendant’s sentence to the

mandatory minimum of 240 months. Because the defendant’s sentence is based on the statutory

mandatory minimum and not a sentencing guideline range that was later lowered by the Sentencing

Commission, he is not eligible for relief.

       Accordingly, it is ORDERED that the defendant’s motion for reduction of sentence under

18 U.S.C. § 3582(c) [dkt. #289] is DENIED.

                                                       s/Davd M. Lawson
                                                       DAVID M. LAWSON
                                                       United States District Judge

Dated: November 1, 2012




                                                 PROOF OF SERVICE

                         The undersigned certifies that a copy of the foregoing order was served
                         upon each attorney or party of record herein by electronic means or first
                         class U.S. mail on November 1, 2012

                                                           s/Deborah R. Tofil
                                                           DEBORAH R. TOFIL




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